pocket No. | Ck 379 PEC DEFENDANT Mou MICO Henna molez Lhe
usa las on Richman DEF.’S COUNSEL MV ichae\ Klock vy

Creramep G)FEDERAL DEFENDERS ca O pPRESENTMENT ONLY

wm =U *) INTERPRETER NEEDED
DEFENDANT WAIVES PRETRIAL REPORT

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QO Rule 5 BRule 9 CO Rule 5(c)3) O Detention Hrg.§ © DATE OF ARREST a L fog 20 O VOL. SURR.

TIME OF ARREST 3-2 (4p 01 ON WRIT
C Other: TIME OF PRESENTMENT /24°/<" ¢//)
/ BAH. DISPOSITION
Wo ee O SEE SEP. ORDER
DETENTION ON CONSENT W/O PREJUDICE Q DETENTION: RISK OF FLIGHT/DANGER 1 SEE TRANSCRIPT

© DETENTION HEARING SCHEDULED FOR:
CO AGREED CONDITIONS OF RELEASE

OC DEF. RELEASED ON OWN RECOGNIZANCE

Of PRB O FRP

( SECURED BY $ CASH/PROPERTY:
O TRAVEL RESTRICTED TO SDNY/EDNY/

O TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
O SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

O PRETRIAL SUPERVISION: CO REGULAR OSTRICT OAS DIRECTED BY PRETRIAL SERVICES
0 DRUG TESTING/TREATMT AS DIRECTED BY PTS © MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
O DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

O HOME INCARCERATION OHOMEDETENTION OCURFEW OELECTRONIC MONITORING (CGPS
O DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

O DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] 0 DEF. TO CONTINUE OR START EDUCATION PROGRAM
D DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

D DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
OD DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY:

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

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©) DEP’ ARRAIGNED; PLEADS NOT GUILTY to CONFEREN E BEFORE D.J. ON </2O /: 20 go
© PEF, WAIVES INDICTMENT coy fF
SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h\(7) UNTIL _&- / ©" fe we

For Rule 5(c)(3) Cases:
0 IDENTITY HEARING WAIVED 0 DEFENDANT TO BE REMOVED

O PRELIMINARY HEARING IN SDNY WAIVED © CONTROL DATE FOR REMOVAL:

PRELIMINARY HEARING DATE: 0 ON DEFENDANT’S CONSENT

a ‘
ee gf teem
DATE: oe | QD PM ne .
UNITED STATES MAGISTRATE JUDGE, S8.D.N.Y.

WHITE {original) - COURT FILE PINK - U5. ATTORNEY'S OFFICE YELLOW - U.S. MARSHAL GREEN —~ PRETRIAL SERVICES AGENCY
Rev'd 2016 TH -2 ,

